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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

STUDENTS FOR JUSTICE IN PALESTINE
AT THE UNIVERSITY OF SOUTH FLORIDA,

      Plaintiff,

v.                                             Case No.: 1:23cv281-MW/HTC


RONALD DESANTIS, et al.,

     Defendants.
__________________________/

                            ORDER FOR DISMISSAL

      This Court has considered, without hearing, Plaintiff’s notice indicating that

Plaintiff does not intend to file an amended complaint or appeal this Court’s Orders

dismissing Plaintiff’s complaint for lack of standing. ECF No. 82. Accordingly, the

Clerk shall enter judgment stating, “Plaintiff’s complaint is dismissed without

prejudice for lack of standing.” The Clerk shall close the file.

      SO ORDERED on February 16, 2024.

                                               s/Mark E. Walker             ____
                                               Chief United States District Judge
